 Case 21-40834-drd11            Doc 375 Filed 03/03/22 Entered 03/03/22 10:50:02                          Desc
                                  Main Document     Page 1 of 1


                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF MISSOURI


In re:   INTERSTATE UNDERGROUND WAREHOUSE                             )
         AND INDUSTRIAL PARK, INC.                                    )       Case. No. 21-40834-DRD
                          Debtor.                                     )       Chapter 11
                                                                      )


                                        DEBTOR’S WITNESS LIST

                 The Debtor may call the following witnesses at the hearing now set for March 9, 2022:

         1.      Leslie Reeder, CEO of the Debtor

         2.      Joe Temm, Bookkeeper of the Debtor

         3.      Any witnesses needed for rebuttal

         4.      Any witnesses on any other party’s Witness List

                                                             KRIGEL & KRIGEL, P.C.

                                                             /s/ Erlene W. Krigel
                                                             Erlene W. Krigel, No. 29416
                                                             4520 Main Street, Suite 700
                                                             Kansas City, Missouri 64111
                                                             TEL: 816-756-5800
                                                             FAX: 816-756-1999
                                                             ATTORNEYS FOR DEBTOR


                                       CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of March, 2022, a true and correct copy of the above and
foregoing was either mailed via U.S. Mail, postage prepaid, to all parties in interest and creditors listed on the
ECF noticing system.

                                           /s/ Erlene W. Krigel
                                                Erlene W. Krigel
